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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                    CASE NO.: 1:11cr21-SPM

WILLIAM EDWARD HOLLIDAY, JR.,

             Defendant.

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                        ACCEPTANCE OF GUILTY PLEA

      Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there have been no timely objections, and subject to

the Court’s consideration of any Plea Agreement pursuant to Fed. R. Crim. P.

11(e)(2), the plea of guilty of the defendant, WILLIAM EDWARD HOLLIDAY, JR.,

to Count One of the indictment is hereby ACCEPTED. All parties shall appear

before this Court for sentencing as directed.

      DONE AND ORDERED this 7th day of November, 2011.


                                         s/ Stephan P. Mickle
                                         Stephan P. Mickle
                                         Senior United States District Judge
